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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

BABBAGE HOLDINGS, LLC                 §
                                      §
v.                                    §          Case No. 2:13-CV-750-JRG
                                      §
ACTIVISION BLIZZARD INC.              §
______________________________________________________________________________
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

BABBAGE HOLDINGS, LLC                               §
                                                    §
v.                                                  §             Case No. 2:13-CV-751-JRG
                                                    §
CAPCOM USA, INC., ET AL.                            §


                     MINUTES FOR SHOW CAUSE HEARING
              HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                   May 27, 2014

OPEN: 9:00 a.m.                                                                ADJOURN: 9:10 a.m.

ATTORNEYS FOR PLAINTIFF:                                 Anthony Garza
                                                         Steven Callahan

ATTORNEY FOR DEFENDANTS:                                 Melissa Smith

LAW CLERK:                                               Wei Wang

COURT REPORTER:                                          Shelly Holmes, CSR, CRR

COURTROOM DEPUTY:                                        Jan Lockhart

The Court continued the hearing until June 27, 2014 at 9:00 a.m. If the parties are able to work out a
mutually agreeable resolution, then they are to notify the Court and the Court will consider cancelling the
hearing.
